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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,

                                                                        VOIR DIRE
                                     Plaintiff,
        v.                                                         Case No. 3:17-cv-739

WALMART STORES, INC. and
WALMART STORES EAST, LP,

                                     Defendants.


Introduction

This is a civil case involving the Americans With Disabilities Act, which we’ll refer to
as the “ADA.” The ADA makes it illegal for employers to discriminate against
individuals on the basis of disability. The plaintiff is the Equal Employment
Opportunity Commission, the “EEOC.” The defendants are Walmart Stores, Inc. and
Walmart Stores East, LP, whom I will refer to as just “Walmart.” The EEOC alleges
that Walmart violated the rights of Walmart employee, Paul Reina, under the ADA.
Walmart disputes that it violated Mr. Reina’s rights.

   1.        Have any of you ever heard of this case before today? Follow up at sidebar.

   2.        The trial of this case will begin today. It may last five days, until Friday. Are
             any of you unable to serve as a juror during this time?

Knowledge of parties and others

   3.        Ask counsel to stand and tell the jury where they practice and with whom.
             Ask panel whether anyone knows counsel or their associates or partners.

   4.        Ask counsel to introduce the parties. Ask panel whether anyone knows any
             of the parties.

   5.        The witnesses in the case may include the following individuals. Do any of
             you know any of the witnesses?

             Roseann Slaght


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           Margaret Polizzi

           Matthew Matheny

           Matthew Coppernoll

           Gera-Lind Kolarik

           Ann Adamczyk

           Reginald Coffin

           Sheila Rae Martin

           Amanda Fellows

           Jeffery Scheuerell

           Julie Repka

           Leah Stroh

           Herminio Vargas

           Joseph Neblock

           Melissa Lawent

           Dr. Susan Lewinski

           Dr. Richard Deming

           Dan Ramsey

           Dr. Michael Shapiro

   6.      Do any of you know the judge or court personnel?

   7.      Do any of you know any of the other people on the jury panel?

Questions to each prospective juror (listed on a sheet provided to jurors):

Please stand up and tell us about yourself:

   8.      Name, age, and city or town of residence.


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   9.      If you live in Madison, how long have you lived here?

   10.     Marital status and number of children, if any.

   11.     Current occupation (former if retired or currently unemployed).

   12.     Have you ever owned or managed a company?

   13.     Current (or former) occupation of your spouse or domestic partner.

   14.     If you have adult children, what do they do?

   15.     Any military service, including branch, rank and approximate date of
           discharge.

   16.     How far you went in school and major areas of study, if any.

   17.     Memberships in any groups or organizations.

   18.     Hobbies and leisure-time activities.

   19.     Media consumption. What are your favorite types of reading materials,
           what sources do you use for news, what types of television or radio shows
           do you watch or listen to, what types of websites do you visit?

   20.     Have you ever written a letter to the editor in a newspaper or magazine?

   21.     Do you have any bumper stickers on your car? If so, what do they say or
           depict?

Case-specific questions to the panel
Jurors may request that sensitive topics be addressed at side-bar

Litigation experience and opinions

   22.     Have you, a relative, or a close friend been a party to a lawsuit?

   23.     Have you, a relative, or a close friend ever been a witness in a lawsuit?

   24.     Have you served on a jury? Follow up: nature of the case; find for plaintiff
           or defendant; were you the foreperson?

   25.     Have you or anyone close to you ever had a dispute with a business?

Specialized knowledge or experience


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26.     Have you or anyone close to you ever been employed by Walmart Stores?

27.     Do you have strong feelings, whether positive or negative, about Walmart?

28.     The EEOC is a federal agency that is responsible for enforcing federal
        employment laws. Have you or anyone close to you ever been employed by
        the Equal Employment Opportunity Commission, or any other agency
        involved in employment law, such as the Department of Workforce
        Development, the Equal Rights Division, or DIHLR?

29.     Do you have any special knowledge or training related to disability
        discrimination or the ADA?

30.     Have you or anyone close to you ever received any education or training in
        the legal profession?

31.     Have any of you ever been involved in any dispute with a state or federal
        government, including any governmental agencies?

32.     Have you or anyone close to you ever been the subject of an investigation
        by any governmental body?

33.     Have you ever been an officer, manager, or supervisor in any current or
        previous job?

34.     Have you ever been responsible for involved in the hiring, promotion,
        demotion, or firing of employees?

35.     Have you or anyone close to you ever been involved in a dispute relating to
        employment?

36.     Have you or anyone close to you ever been involuntarily discharged from
        employment?

37.     Have you or anyone close to you ever been unfairly disciplined or
        discriminated against at work?

38.     Have you or anyone in your family ever filed an employment-related
        complaint with an administrative agency such as the Equal Employment
        Opportunity Commission or the Wisconsin Department of Workforce
        Development?

39.     Do you or anyone close to you have a disability or permanent medical
        condition that restricts or limits the ability to work?


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   40.       Have you or anyone close to you worked with a job coach or aide?

   41.       Have you or anyone close to you been injured on the job and unable to
             return to work because of that injury?

   42.       Have you or anyone close to you ever requested a job-modification or
             change in the work environment due to a medical condition?

   43.       Do you have strong opinions, whether positive or negative, about whether
             individuals with disabilities should be entitled to the same employment
             opportunities as non-disabled workers?

   44.       Do you have any strong feelings about the Americans with Disabilities Act
             (ADA), which makes it illegal for employers to discriminate against
             individuals on the basis of disability?

Conclusion

   45.       At the end of the case, I will give you instructions that will govern your
             deliberations. You are required to follow those instructions, even if you do
             not agree with them. Is there any one of you who would be unable or
             unwilling to follow my instructions?

   46.       Do you know of any reason whatsoever why you could not sit as a trial
             juror with absolute impartiality to all the parties in this case?




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